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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                       May 6, 2021

BY ECF

The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re:     United States v. Stephen M. Calk, S1 19 Cr. 366 (LGS)

Dear Judge Schofield:

        Pursuant to the Court’s Order dated March 25, 2021, (Dkt. 180), the Government
respectfully writes to file the parties’ exhibit lists.

        As directed by the Order, the exhibit lists note the parties’ objections and those exhibits
to which the parties have stipulated to admissibility. The parties agree on the admissibility of the
exhibits to which no objection is noted, with the provisos that the Government respectfully
requests that the Court not immediately admit or resolve disputes over exhibits it has marked
with an asterisk, as noted in the Government’s exhibit list, and that both parties respectfully
reserve the right to request limiting instructions for particular exhibits at trial to which they have
not objected, depending on the context in which they are offered.

        The Government has delivered to Chambers today the hyperlinked exhibit lists and
exhibits directed by the Court’s Order.

                                               Respectfully submitted,

                                               AUDREY STRAUSS
                                               United States Attorney

                                           by: /s/ Paul M. Monteleoni
                                               Paul M. Monteleoni
                                               Hagan Scotten
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